 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------· X
 UNITED STATES                                                        .

                                         Plaintiff,                         98 CR l lOl(ILG)

                        -against-
                                                                            TO BE FILED UNDER
                                                                            SEAL
FELIX SATER,

                                        Defendant.



----------------------------------------------------------------------· X




                    DEFENDANT FELIX SATER'S
REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF ORDER DIRECTING
         RETURN OF SEALED AND CONFIDENTIAL MATERIALS




                               MORGAN, LEWIS & BOCKIUS LLP
                                       101 Park Avenue
                                  New York, New York 10178
                                      Tel: 212.309.6000

                                 Attorneys for Defendant Felix Sater



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           Felix Sater, by and through his attorneys, Morgan, Lewis & Bockius LLP, hereby

 submits this reply memorandum of law in further support of Mr. Sater's request for relief.

                                           BACKGROUND
           Fred Oberlander, a licensed attorney, and Jody Kriss and Michael Ejekam (collectively,

"Respondents") knowingly disregarded an order of this Court and put Mr. Sater's life in danger

by publicizing in a meritless civil complaint a sealed cooperation agreement and other

documents (collectively, the "Sealed and Confidential Materials") reflecting Mr. Sater's

extensive cooperation relating to significant criminal matters. While Respondents repeatedly

assert that they did not obtain the Sealed Materials from the Court, that hardly matters. Far from

a situation where they honestly did not realize that a sealing order was in place, Respondents'

o~ ~legations in the civil complaint show that they knew that Mr. Sater's file had been

ordered sealed by this Court. Given that knowledge, Respondents' brazen publication of the

Sealed Materials--without taking any steps whatsoever to determine whether the seal order had

been lifted, or without making an unsealing motion, was beyond irresponsible.

          In their opposition, Respondents show no contrition for their disregard for this Court's

seal order. Instead, they argue that Mr. Sater's grievance is a typical squabble about civil

discovery that should be resolved in the lawsuit before Judge Buchwald in the ordinary course.

They also suggest that Mr. Sater's request for relief should be discounted because Mr. Sater is a

"miscreant" while Mr. Oberlander is a "zealous advocate." See, e.g., Declaration of Thomas W.

Hyland ("Hyland Declaration") i!15, 30. Given Respondents' conduct in publishing material

that they knew to be the subject of this Court's seal order, their cavalier attitude is astounding.

Also, as this Court knows from long experience, violent retaliation against individuals whose

cooperation is revealed to members of organized crime is all too common. While Respondents



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  contend that they chose excerpts of the Sealed Documents "with care", they disclosed all that

 would be needed to incite retaliation: the mere fact of Mr. Sater's cooperation against members
 of organized crime.

           This Court ordered Respondents to give evidence how they obtained the Sealed and

 Confidential Materials and show cause why Mr. Sater's request for relief should not be granted.
 Nothing in their papers comes close to achieving this.

                                            ARGUMENT

I.        RESPONDENTS CONCEDE THAT THE SDNY COMPLAINT CONTAINS
          SEALED INFORMATION

          The 165 page, rambling SDNY Complaint essentially accuses a group of individuals,

accountants, law firms and other corporate entities of a massive RICO conspiracy with tax fraud

as the predicate acts. The SDNY Complaint is nonsensical, and the list of defendants is equally

bizarre. For example, the list includes:

      •   A.kennan Senterfitt, a law firm where Ron Kriss is a partner. Ron Kriss is the father of
          Respondent Jody Kriss, which means that Jody Kriss is accusing his father's finn of
          engaging in a RICO conspiracy and tax fraud. See, e.g., SDNY Compl. ,i 353
          ("Ackerman corrupted itself and perpetrated a fraud on the court."). The Court will
          recall that notwithstanding this accusation, Oberlander asked Ron Kriss to send to
          Bayrock his pre-filing threat to publicly disclose the sealed materials. See Moore
          Declaration Exhibit 3;

     •    The law firms of Roberts & Holland, Nixon Peabody, and Duval & Stachenfeld, and
          attorney Mel Dogan. The Court should be aware that the SONY Complaint contains
          numerous privileged communications between Bayrock and its attorneys which were
          improperly taken from Bayrock. Bayrock has informed Judge Buchwald of this
          impropriety and the matter is now before her. See letter dated May 24, 2010 from
          Morrison Cohen LLP to Judge Buchwald, attached hereto as Exhibit 1.

     •    Alex Soloman and Soloman & Co. Mr. Solomon is an accountant; and

     •    For no apparent reason. National Union Fire Insurance Co. of Pittsburgh.
          Cutting through all of the far-flung accusations, the SDNY Complaint makes clear that

Respondents knew three things prior to publishing it and the sealed information therein: (i) Mr.


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 Sater had cooperated against dangerous organized crime defendants; (ii) the Sealed and

 Confidential Materials attached to the SONY Complaint contained detailed information about

 the cooperation as well as personal infonnation about Mr. Sater and his family; and (iii) this

 Court had issued a seal order. This is all plainly summed up in Paragraph 96:

                   Because his [Mr. Sater's] guilty plea to criminal RICO, proffer,
                   and cooperation agreement, Exh. A, were sealed as he was aiding
                   in the prosecution of his Mafia and Russian organized crime
                   confederates, Arif and Satter [sic Jwere able to hide his history of
                   securities fraud, money laundering,
                                    from Plaintiffs and o ers or mos 1ve years ...

Any person with an ounce of common sense-especially an attorney who claims to be an

"authority" on criminal law (See Transcript of Deposition of Julius Schwarz at 146, attached

hereto as Exhibit 2}-would know that publishing such material put lives at risk. Respondents

callously tried to exploit that risk, accusing Mr. Sater of improperly hiding his past and, in a pre-

filing email, threatening that if the SONY defendants would not immediately settle Mr. Kriss'

employment claim, they would publicly disseminate the SDNY Complaint together with its

Sealed and Confidential Materials. In that email, Mr. Oberlander again showed his awareness of

the seal order by suggesting that he might file the complaint under seal, or that the parties could

enter into a "redaction agreement" after the lawsuit was filed. See Moore Declaration Exhibit 3.1

II.      Tms COURT HAS AUTHORITY TO ADDRESS THE PUBLICATION OF
         THE DOCUMENTS

         Respondents claim that "the issue" raised by Mr. Sater's motion should be resolved by

Judge Buchwald "in the context of the ordinary discovery process in the underlying civil RICO



l         What makes this disclosure more disturbing is that it appears to have been done solely to force a pre-filing
·settlement. This is clear given that Mr. Kriss had recently filed a similar civil complaint in Delaware, without
 including these sealed details. Respondents argue that the Delaware claim is different than the SONY Claim. See
 Declaration ofStamatios Stamoulis ("Stamoulis Declaration") 19. However, the Court need not resolve this
question, as it is presently before Judge Buchwald and in no way absolves Respondents of their misconduct.



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 matter.,,.'' Hyland Declaration 1f 5. In other words, although Respondents knowingly

 published documents sealed by this Court, Respondents suggest this motion is not properly
 before Your Honor.

          Respondents are wrong. First, this Court has the absolute right to inquire about violations

of its orders. For example, in In re Biovail Corporation Securities Litigation, 247 F.R.D. 69

(S.D.N.Y. 2007), Judge Owen of the Southern District ofNew York learned that documents

governed by his protective order were used as a basis for commencing another action. He issued

an order barring the use of the materials and subsequently held well-publicized hearings into the

conduct that led to the violation of his order. Judge Owen also awarded the attorney fees and

expenses to the injured party. In re Biovail, 247 F.R.D. at 71. Moreover, as Respondent

Oberlander is fully aware, Judge Buchwald specifically directed the parties to this Court to

address the violation of the seal order and the question of how the Respondents obtained

documents that were under seal in the Eastern District of New York. See Moore Declaration ,i

35.

III.      RESPONDENTS' EXCUSES DO NOT ABSOLVE THEM
         A.      Oberlander Cannot Hide Behind Privilege

         Respondents claim that Mr. Oberlander obtained the documents unsolicited from a client

of Mr. Oberlander's, and then argue that Mr. Oberlander (i) cannot disclose the mystery client's

name on grounds that it is protected by the attorney-client privilege; and (ii) cannot ask the

mystery client for an affidavit because of the Court's order sealing these proceedings.

         Respondents are wrong. The identity of the mystery client is not privileged. See In re

Shargel, 742 F.2d 61, 64 (2d Cir. 1984) (client identity, absent special circumstances, is not

protected by attorney-client privilege); see also Le/court v. US, 125 F.3d 79, 86 (2d. Cir. 1997)

(rejecting argument that possible client incrimination resulting from disclosing a client's identity


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 constitutes a special circumstance justifying nondisclosure.)

          Of course, the identity of the mystery client likely is no mystery at all. Mr. Oberlander

 represents three former employees of Bayrock: Mr. Kriss and Mr. Ejekam-who both deny

 being the source-and Joshua Bernstein, who is pursuing other claims against Bayrock. Mr.

 Bernstein has already admitted under oath that when he left Bayrock, he took ''thousands of

different emails and such" and "hundreds" of paper documents. See Deposition of Joshua

Bernstein, Exhibit 2 to the Moore Declaration, at 219.

          In any case, it is irrelevant whether Respondents obtained the documents from a third

party. The fact remains that they knew that the documents were the subject of a seal order from

this Court. Their failure to take any action to determine whether the sea] was in place, or to

move to unseal, cannot be excused by a claim that they did not obtain documents directly from

the courthouse files.

         B.      Respondents' Arguments About Expectations of Privacy and Waiver of
                 Privilege Are Irrelevant

         Because Mr. Bernstein might be compelled to admit that he stole the documents-either

in hard copy or from a computer-Respondents hedge their bets by speculating that Mr. Sater

might not have kept his documents under "lock and key" (Hyland Declaration ,i 15), by asserting

that Mr. Sater had instructed Mr. Bernstein to make a computer backup (Id. , 13), and by

suggesting that if Mr. Oberlander simply received the documents, he is free to use them as he

pleases (Id ,i 16). These arguments fail.

         Mr. Sater cannot be denied an expectation of privacy because a coworker went snooping

through his desk or his computer and stole sealed and confidential documents. See generally

0 'Connor v. Ortega, 480 U.S. 709, 730 (1987) ("(n]ot everything that passes through the

confines of the business address can be considered part of the workplace context."); Stengart v.



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  Loving Care Agency, Inc., 973 A.2d 390 (N.J. App. Div. 2009), (rejecting the company's

 ownership of a computer as the sole determinative fact in determining whether an employee's

 personal emails may become the company's property), ajf'd Stengart v. Loving Care Agency,
                        '
 Inc., 990 A.2d 650, 655 (N.J. Sup. Ct. 2010); see generally Leventhal v. Knapek, 266 F.3d 64, 74

 (2d. Cir. 2001) (concluding, under facts, that employee had reasonable expectation of privacy in
 contents of work-place computer).

          As to Respondents' position that Mr. Bernstein, who had information technology

responsibilities at Bayrock, was directed to ensure that the company's electronic files were

backed up (Hyland Declaration 113), this alone does not entitle Mr. Bernstein to take the

backups to his home, or keep the backups when he was terminated, or use any information he

found for his own personal gain. Similarly, the fact that Mr. Oberlander may not have taken the

documents himself does not provide him a defense. If one of Mr. Oberlander's clients handed

him a stolen credit card, Mr. Oberlander would not be entitled to use that for the benefit of the

client or anyone else, and this is no different.

          The Second Circuit addressed a parallel issue in U.S. v. Charmer Industries, Inc., 711

F.2d 1164 (2d Cir. 1983). In Charmer, the Attorney General of Arizona obtained a copy of a

pre-sentence report by calling a clerk in the probation department. The Second Circuit, after

explaining the need for confidentiality of such materials, determined that only the court had the

power to release the document and only upon a sufficient showing. It therefore ordered that the

recipient, though he had not improperly taken the report, was required to return the report to the .

court and was prohibited from any publication or use of any portion of the report not otherwise

publicly available. The same result is compelled here.

          Respondents' reliance on cases concerning waiver of the attorney client privilege is



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 completely inapposite. The documents in question are covered by a £mm order-not attorney-

 client privilege-and as such may not be disclosed without authorization by the £QY!l. See US.

 v. Madoff. No. 09 Crim. 213 (DC), 2009 WL 3347945 at• t (October 13, 2009 S.D.N.Y.)

(refusing to allow third party access to a presentence report and quoting U.S. Dep 't ofJustice v.

Julian, 486 U.S. 1, 12 (1988): "presentence reports should not be accessible to third parties

because of the chilling effect on the willingness of various individuals to contribute information

that will be incorporated into the report [and] the need to protect the confidentiality of the

information contained in the report.") It is well established that every court has supervisory

power over its own records and files and it is the Court's right-and only the Court's right-to

allow or deny access to such files in order to prevent the files from becoming "vehicles for

improper purposes." Nixon v. Warner Communications, Inc. et al., 435 U.S. 589,598 (1978).

          C.      Respondents' Wrongly Attempt to Minimize Their Offense

          Respondents argue that even if they improperly used sealed information, there is no harm

because the materials could be unsealed if there is a compelling need for disclosure to meet the

ends of justice (Hyland Declaration ,r 26), that even if the Court documents are sealed, the

information in the documents cannot be protected from disclosure (Id.    ,r 28), and that disclosure
is acceptable because Mr. Oberlander is a "zealous advocate" and Mr. Sater is a "miscreant" (Id.

,r 30).
          But the seal order belongs to this Court, and if Respondents thought there was good cause

to overturn it, they should have made a motion try to demonstrate "a compelling need for

disclosure to meet the ends of justice." Charmer, 711 F.2d at 1176. Instead, they took

unilateral action and knowingly violated a standing order.

          The reason they did so is obvious. Np showing of a "compelling need" to use the Sealed

and Confidential Materials could ever be made. Far from having a "compelling need" to use

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    those docwnents in a civil case, it is plain that the documents were attached to the SDNY

    Complaint as exhibits for the sole purpose of attempting to extract a payment in exchange for not

    publishing documents that would place Mr, Sater's life in danger. The pretextual basis for

    attaching the Sealed and Confidential Materials to the SONY Complaint is to support an alleged

 RICO predicate act of fraud on this Court and the probation department, and Mr. Oberlander

purports that the plaintiffs he represents are "essentially private attorneys general." It is obvious

on the face of it, that the SDNY Complaint is a frivolous diatribe that will not survive a motion

to dismiss, much less Rule 11 sanctions. Equally obvious is that it was never intended to. It was

simply intended as a temporary vehicle by which to extort a payment in exchange for not

endangering a man's life and damaging the reputation of a legitimate business, by gratuitously

calling it "mob" affiliated simply because Mr. Sater worked there.

           Respondents also claim that they drafted the SDNY Complaint with the "utmost care"

(Hyland Declaration ,r 30), that they attached "only the proffer, the cooperation and five pages

from the PSR," and did not include the financial statement or any of the "putatively more

confidential information." Id at ,r 32. Respondents miss the point entirely. They threatened to

and then did disclose cooperation against organized crime, thereby placing Mr. Sater's life in

danger. How can they actually claim that "the extracts were chosen with care"?2

                                                CONCLUSION

          For the reasons stated above, this Court should grant the relief sought and issue such

other and further relief as the Court deems just and appropriate under the circumstances.




1        Respondents state that they only disclosed 5 pages of the PSR. The pre-filing copy sent to Ron Kriss
contained the entire 2004 presentence report with the exception of page 46 thereof.




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Dated: New York, New York
       June 10, 2010
                            MORGAN, LEWIS & BOCKIUS LLP



                            By
                                           oore (KM 4839)
                                         A. Herman (BH 0731)

                            101 Park Avenue
                            New York, New York 10178-0060
                            Phone: 212-309-6000
                            Fax: 212-309-6001

                            Attorneys for Felix Sater




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EXHIBIT 1
  MorrisonCohenLLP
                                                                               Y. David Scharf
                                                                               Partner
                                                                               (2 I 2) 735-8604
                                                                               dscharf@morrlsoncohen.com




 May 24, 2010

 VIA FACSIMILE (212) 805~7927

Honorable Naomi Reice Buchwald
United States District Judge
United States District Court
500 Pearl Street
New York, NY 10007

Re:          Kriss. et al. v. Bayrock Group LLC. et al., SDNY 10 Qiv. 3959

Dear Judge Buchwald:

We represent defendants Bayrock Group LLC, Julius Schwarz and Brian Halberg (collectively
"Bayrock'') in the above-referenced matter. We write to request a pre-motion conference in
accordance with Rule 2(A) of Your Honor's Individual Practices. We intend to move for
dismissal of the complaint (or, alternatively, for disqualification of Plaintiffs' counsel or other
reliet) on the following grounds:

1.     Disputes Between Kriss and Bayrock Must Be Arbitrated - This action is little more
than Mr. Kriss's attempt to avoid the terms of an employment agreement between he and
Bayrock which expressly provides, in a broadly-worded arbitration clause, for binding arbitration
of all disputes between Bayrock and Mr. Kriss. Indeed, this is Mr. Kriss's second attempt to
avoid arbitration and assert his claims in court. On February 19, 20 I 0, the Court of Chancery of
the State of Delaware dismissed a similar derivative complaint filed by Mr. Kriss, finding that all
of Mr. Kriss's claims were arbitrable, and none were properly asserted in Delaware. Even
though the Chancery Court indicated that it could dismiss the complaint there with prejudice,
Chancery Judge Strine went out of his way to give Mr. Kriss a second chance to plead his claim
in arbitration. Rather than adhere to the Chancery Court's order and file an arbitration claim,
Mr. Kriss filed the instant Complaint. Given that Mr. Kriss has now made two futile attempts to
avoid arbitration, we submit that his Complaint should be dismissed with prejudice.


2.       The Complaint Relles on Stolen, Confidential Information - Even if Plaintiffs were
not required to arbitrate their claims, the Complaint should nonetheless be dismissed because it
relies almost entirely on stolen attorney-client privileged communications. Virtually the entire
complaint relies upon (and indeed, in many instances directly quotes from) confidential
communications between Bayrock and Bayrock's outside counsel, or between Bayrock's in-
house counsel and Bayrock's employees (collectively, the "Confidential Communications").
Bayrock will show that the privilege was preserved as to these Confidential Communications,
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a~d that the Plaintiffs had neither the right nor the authority to waive the attorney-client privilege
with resp~t !o these Confidential Communications. Indeed, it appears that these Confidential
Com~umcauons may have been surreptitiously diverted from Bayrock's computer system, or
physically stolen from Bayrock's offices. Plaintiffs' use and dissemination of the Confidential
Communications - which 011 their face are clearly privileged - is a gross abuse of the judicial
process. We respectfully submit that the Court has the inherent power to address this
wrongdoing by dismissing the Complaint with prejudice. Alternatively, the Court may strike all
references to Confidential Information in the Complaint, disqualify the Plaintiffs' counsel from
further representing the Plaintiffs, and order the return of the Confidential Information.

3.      The Complaint Fails to State a RICO Claim - Even were the Complaint not dismissed
for the foregoing reasons, it should nonetheless be dismissed because the Plaintiffs have failed to
plead a claim under the RICO statute. Thel64-page Complaint is filled with inflammatory
rhetoric designed only to embarrass the defendants and force a settlement; it utterly fails to
particularize the elements of a claim under the RICO statute. Moreover, the Complaint plainly
violates the Rule 8(d) requirement that each allegation be "simple, concise and direct." .The last
ten paragraphs of the 785~paragraph Complaint attempt to allege a RJCO claim, but these
paragraphs do not articulate how the preceding 778 paragraphs of the Complaint are tied to the
elements of a RICO cause of action. As the Court is aware, the RICO statute "is a specialized
statute requiring a particular configuration of elements. These elements cannot be incorporated
loosely from a previous narration, but must be tightly particularized and connected in a
complaint." lesavoy v. Lane, 304 F. Supp. 2d 520, 532 (S.D.N.Y. 2004) (quoting Zaro
Licensing, Inc. v. Cinmar, Inc., 779 F. Supp. 276,284 (S.D.N.Y. 1991) (internal quotation marks
and citation omitted), Here, no element of a RICO claim is properly pleaded in this Complaint,
and any attempt to amend the Complaint would be futile. Accordingly, we respectfully submit
that the Complaint should be dismissed with prejudice.

We respectfully request a pre-motion conference at Your Honor's convenience so that we may
file a motion with respect to the foregoing issues.




cc:       Frederick Oberlander, Esq. (fred55@aol.com)
          David Lewis, Esq.(dlewis@lewisandfiore.com)
          Brian Herman, Esq. (bherman@morganlewis.com)




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EXHIBIT 2
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     1   SUPREME COURT OF THE STATE OF NEW YORK
     2   COUNTY OF WESTCHESTER
     3
         ------------------------------------x
         JOSHUA BERNSTEIN,
     4                           Plaintiff,
     5               -against-
     6   BAYROCK GROUP LLC,
     7                           Defendant.
     8   Index No. 02579/09
     9
         ------------------------------------x
    10
                                 11 Martine Avenue
    11                           white Plains, New York
    12
                                 March S, 2010
    13                           11:15 a.m.
    14
    15               Deposition of JULIUS R. SCHWARZ,
    16   held at the Law offices of Gerry E. Feinberg,
    17   pursuant to court order, before Barbara
    18   Driscoll, a Notary Public of the State of
    19   New York.
    20
    21
    22

    23       ELLEN GRAUER COURT REPORTING CO. LLC
               126 East 56th street, Fifth Floor
    24             New Yorkl New York 10022
                         21~-750-6434
    25                    Ref: 92828


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    1    APPEARANCE 5:
                                   Page 1
1                               SCHWARZ
2    Bayrock Group LLC, and you testified that you
3    believe that the phrase membership interest in the
4    context of Kriss•s employment agreement of 2004;
5    your employment agreement; Sater's employment
6    agreement; Woodring's separation agreement, means
7    an economic interest with respect to the same
8    rights to distribution as a member would have, why
9    is it that none of that money was distributed to
10   any of them?
11                MR. DOMB:     Objection.
12        Q.       Why didn't any of them get any of the
13   money?     Why didn't Jody Kriss get any of the 50
14   million?    What reason was there?
15                MR. DOMB:    This is relevant to the
16        claims in this case of Mr. Bernstein in what
17        way?
18                MR. OBERLANDER:     Because I would like
19        to know whether he was given a bonus for
20        working on a transaction that violated at
21        least 16 different federal laws that I know of
22        and whether his contract is therefore voidly
23        consumed quantum meruit -- I am dead serious.
24        I am an authority on white color crime
25        racketeering.       I am not bluffing.   So we are


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